
PER CURIAM.

ON MOTION TO DISMISS GRANTED

We grant appellee Marilyn Rae Sell’s Motion to Dismiss this appeal. Rodriguez v. Rodriguez, 640 So.2d 138 (Fla. 3d DCA 1994); Gazil v. Gazil, 343 So.2d 595, 597 (Fla.1977) (“Where the appellant has disobeyed an order of the trial court, the appellate court may, in its discretion, either entertain or dismiss an appeal.”); McLemore v. McLemore, 567 So.2d 23, 24 (Fla. 1st DCA 1990); Segall v. Downtown Assocs., 546 So.2d 11, 12 (Fla. 3d DCA 1989); Keidaish v. Smith, 400 So.2d 90, 91 (Fla. 2d DCA 1981). An appellate court, however, should ordinarily provide a grace period prior to dismissing the appeal, within which time the appellant may comply with the violated trial court order and thereby prevent dismissal. See Davidson v. District Court of Appeal, Fourth Dist., 501 So.2d 603, 604 (Fla.1987); Pasin v. Pasin, 517 So.2d 742 (Fla. 4th DCA 1987). We therefore stay this dismissal for a period of ten (10) days to comply with the trial court’s order, or post the previously ordered bond.
